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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                        Case No.: 1:16−cr−00793
                                                          Honorable Andrea R. Wood

                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 4, 2022:


       MINUTE entry before the Honorable Andrea R. Wood as to Michael Persaud: The
Government's motion for entry of a preliminary order of abandonment [140] is granted.
Enter Order. Mailed notice (lma, )




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